          Case 1:18-cv-00040-APM Document 17 Filed 05/14/18 Page 1 of 7



                          UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF THE DISTRICT OF COLUMBIA

CIOX HEALTH, LLC,                              )
                                               )
                Plaintiff,                     )
                                               )
                                                        Case No. 1:18-cv-00040 (APM)
v.                                             )
                                               )
ALEX M. AZAR II, Secretary of Health           )
and Human Services, et al.,                    )
                                               )
                Defendants.                    )
                                               )

                DEFENDANTS’ REPLY MEMORANDUM IN SUPPORT OF
                 MOTION TO STAY SUMMARY JUDGMENT BRIEFING

        Ciox fails to provide any reason why summary judgment briefing should proceed while

Defendants’ motion to dismiss remains pending. Instead, Ciox chooses to mischaracterize

Defendants’ pending motion to dismiss, and to cast aspersions on what it misstates to be

Defendants’ arguments. Ciox, moreover, declines to grapple with the present uncertainties

regarding the scope of the administrative record required for summary judgment, instead

claiming that its self-inflicted injuries require immediate summary judgment briefing.

        Defendants, in contrast, have offered specific and compelling reasons why the Court

should first assure itself of its jurisdiction and, if necessary, the scope of its review over this case,

before this case advances any further. If this case survives past the motion to dismiss (and, for

the reasons Defendants have briefed, it should not), Defendants can then prepare an appropriate

administrative record as to any surviving claims and proceed to summary judgment.

Accordingly, the Court should grant Defendants’ motion to stay further summary judgment

briefing until the Court decides Defendants’ motion to dismiss.




                                                   1
        Case 1:18-cv-00040-APM Document 17 Filed 05/14/18 Page 2 of 7



                                         ARGUMENT

  I.      Allowing the Court to decide its jurisdiction and the appropriate scope of review over
          the case ensures that the issues in this litigation proceed in the proper order.

       As set forth in Defendants’ opening brief, ECF No. 13-1 (“Defs.’ Mem.”), the Supreme

Court has instructed courts to resolve jurisdiction before proceeding any further in a case:

“‘Without jurisdiction the court cannot proceed at all in any cause.’” Steel Co. v. Citizens for a

Better Env’t, 523 U.S. 83, 94 (1998) (quoting Ex parte McCardle, 7 Wall. 506, 514 (1868)).

Ciox’s opposition seeks to trivialize that principle, asserting that “[t]his Court cannot decide

the merits unless it is convinced of its jurisdiction. But that truism provides no basis for

deferring briefing of the merits here.” Pl.’s Opp. 4, ECF No. 15.

       Ciox is correct that this principle does not prohibit the parties from briefing the merits

and jurisdiction together. See Defs.’ Mem. 4 (discussing the district court’s discretion to

control the order in which it hears issues). But the primacy of jurisdiction does suggest that, in

the typical case, the most appropriate course is to resolve the jurisdictional dispute before

proceeding any further. Indeed, the D.C. Circuit has already said as much. See United Transp.

Serv. Emps. of Am., CIO v. Nat’l Mediation Bd., 179 F.2d 446, 45–54 (D.C. Cir. 1949) (noting

that “the District Court had no jurisdiction,” and in that situation “a motion to

dismiss . . . should be acted upon and granted” because a “defendant should not be put to the

trouble and expense of any further proceeding, and the time of the court should not be

occupied with any further proceeding, under such a complaint”); see also Wright &

Miller, Fed. Prac. & Proc. § 3531.15 (noting “the desire to decide standing at the outset, as a

means of sorting out those suits that do not deserve to proceed toward trial on the merits”).

This doctrine is thus designed to protect both defendants and the courts from going too far into

a dispute that is not properly before the Court.



                                                   2
         Case 1:18-cv-00040-APM Document 17 Filed 05/14/18 Page 3 of 7



       Ciox argues that briefing should only be stayed in the event that Defendants’ motion to

dismiss is persuasive; it relies on vituperative language and its brief in opposition to Defendants’

motion to dismiss to argue that the motion is not just unpersuasive but worthy of “a Rule 11

motion.” Pl.’s Opp 2; see also id. at 4–5. Casting Ciox’s gratuitous aspersions to the side, Ciox

asks, in essence, for this Court do exactly what Defendants are requesting—to decide

Defendants’ motion to dismiss before the case proceeds any further on the merits. In any event,

Ciox’s rhetoric is entirely misplaced. As explained in Defendants’ reply brief in support of their

motion to dismiss, the string of regulations cited by Ciox regulate business associates in other

ways but do not give Ciox Article III or statutory standing to challenge Defendants’ regulation of

covered entities under the legal provisions at issue here. Defs.’ Reply Mem. in Supp. of Mot. to

Dismiss 2–6, 14–15, ECF No. 16. Further, Ciox’s characterization of the challenged guidance as

a set of decrees cannot be squared with the guidance’s plainly nonbinding language. Id. at 15–19.

For similar reasons, Ciox’s claims are unripe, and its attempt to argue otherwise is unsupported

by law. Id. at 12–14. Thus, Defendants’ motion to dismiss is not “objectively frivolous,” Pl.’s

Opp. 5, but, rather, based on legitimate legal bases that seriously question the Court’s jurisdiction

and scope of review over this case.

       Ciox next mischaracterizes Defendants’ threshold arguments in multiple ways to argue

that the jurisdictional issues raised are somehow inextricably intertwined with the merits such

that it is “particularly inappropriate to strip CIOX of its right to move for summary judgment.”

Pl.’s Opp. 6. Defendants’ threshold arguments, however, are easily separated from their merits

arguments, and it is illogical for Ciox to argue that allowing the case to proceed in the proper

order would strip Ciox of any rights. Rather, deciding the Court’s jurisdiction and scope of

review over this case at the outset merely conserves the resources of the parties and the courts.




                                                 3
         Case 1:18-cv-00040-APM Document 17 Filed 05/14/18 Page 4 of 7



       Ciox asserts that “[t]he jurisdictional arguments advanced by the government in this case

overlap substantially with the merits . . . .” Pl.’s Opp. 6. This is untrue. Defendants raise two

jurisdictional defects in this case—Ciox’s lack of Article III standing and the unripe nature of its

claims. The Court can examine both defects without having to evaluate the merits of whether the

(1) 2013 rule was arbitrary and capricious or ultra vires, (2) 2016 guidance should have been

subject to notice and comment procedures, and (3) 2016 guidance is arbitrary and capricious and

ultra vires.1 See Compl. ¶¶ 59–77, ECF No. 1.

       Ciox claims that Defendants’ “principal argument for dismissing Counts II and III of the

Complaint is that the challenged fee restrictions are interpretive rules rather than legislative ones

and therefore are immune from the APA’s notice-and-comment requirements . . . and judicial

review” and that “a ruling in CIOX’s favor on that issue would entitle CIOX to judgment as a

matter of law.” Pl.’s Opp. at 6–7. But Defendants primarily move to dismiss on the basis of their

jurisdictional arguments, which would dispose of the whole case, and move in the alternative to

dismiss Ciox’s challenges to the guidance under Rule 12(b)(6). Moreover, Defendants primarily

argue that the challenged guidance is a general statement of policy, or, at most, interpretive non-

final guidance in part, neither of which are subject to judicial review or notice and comment

requirements.2 See Defs.’ Mem. in Support of Mot. to Dismiss 26, ECF No. 9. If the Court


1
  Ciox appears to believe that Defendants’ argument regarding the non-reviewability of the
challenged guidance is jurisdictional, as well. See Pl.s’ Opp. 5–6. Under Circuit precedent,
whether Defendants’ guidance amounts to final agency action subject to judicial under the APA,
however, is not a jurisdictional issue, but rather an issue to be resolved under Rule 12(b)(6). See
Reliable Automatic Sprinkler Co. v. Consumer Prod. Safety Comm’n, 324 F.3d 726, 731 (D.C.
Cir. 2003) (Where “judicial review is sought under the APA rather than a particular statute
prescribing judicial review, the requirement of final agency action is not jurisdictional.”).
Regardless, the Court can also decide whether the guidance is final agency action without
proceeding to the merits of Ciox’s claims against the guidance, as explained infra.
2
  Ciox’s misplaces its reliance on United Steel, Paper & Forestry, Rubber, Mfg., Energy, Allied
Indus. & Serv. Workers Int'l Union v. Fed. Highway Admin., 151 F. Supp. 3d 76, 89–90 (D.D.C.

                                                 4
           Case 1:18-cv-00040-APM Document 17 Filed 05/14/18 Page 5 of 7



concludes that the challenged guidance is final agency action, it should separately decide

whether the final agency action is subject to notice and comment requirements, arbitrary and

capricious, and ultra vires, upon examination of the administrative record and the parties’

arguments on summary judgment.

         In sum, the Court may safely decide the jurisdictional issues and, if necessary, whether

the challenged guidance is a general statement of policy or something more amounting to final

agency action, without proceeding to the merits of this case. Therefore, granting Defendants’

stay is likely to “meaningfully advance the government’s stated interests in efficiency and

judicial economy.” Pl.’s Opp. 7.

   II.      Once the Court determines its jurisdiction and scope of review, Defendants can if
            necessary file an appropriate administrative record for the purposes of summary
            judgment.

         Defendants have noted that it makes little sense to move to the merits briefing while the

scope of the administrative record remains unresolved. Defs.’ Mem. 7. Ciox does not

meaningfully engage with this point. Instead, Ciox sarcastically disparages Defendants’

understandable desire to conserve taxpayer resources until the Court has decided whether an

administrative record need be compiled in this case and, if so, what the scope and contents of the

record would be. See Pl.’s Opp. 8.

         Ciox also continues to claim that their claims are “purely legal in nature” without

acknowledging Supreme Court precedent on the necessity of an administrative record in

adjudicating the merits of Ciox’s APA claims under 5 U.S.C. § 706. Citizens to Pres. Overton

Park, Inc. v. Volpe, 401 U.S. 402, 416 (1971); abrogated on other grounds by Califano v.


2015), to argue that the Court should evaluate the threshold and merits arguments regarding the
challenged guidance together. In that case, the Court decided the parties’ cross-motions for
summary judgment; the case does not indicate that Defendants moved to dismiss beforehand or
had raised any jurisdictional issues.

                                                 5
           Case 1:18-cv-00040-APM Document 17 Filed 05/14/18 Page 6 of 7



Sanders, 430 U.S. 99 (1977) (citing 5 U.S.C. § 706); Fla. Power & Light Co. v. Lorion, 470 U.S.

729, 743–44 (1985) (“The task of the reviewing court is to apply the appropriate APA standard

of review, 5 U.S.C. § 706, to the agency decision based on the record the agency presents to the

reviewing court.”). Because the scope of the administrate record has not yet been determined and

because the law requires an administrative record to adjudicate Ciox’s claims on the merits, it is

inappropriate to move to summary judgment before the Court has adjudicated Defendants’

motion to dismiss.

   III.      The equities do not demand that summary judgment briefing take place while
             Defendants’ motion to dismiss is still pending.

          Ciox finally argues that the equities favor proceeding with summary judgment in this

case. In support of this argument, Ciox cites to a declaration stating “the 2016 Mandates and the

response of CIOX’s covered-entity clients to those Mandates, are subject to the Patient Rate[] is

costing CIOX well over $10 million per year.” Decl. of Tarun Kabaria ¶ 16, ECF No. 12-2.

          But Ciox’s economic injury does not constitute an injury in fact fairly traceable to

Defendants’ challenged actions. As Defendants explained in their briefs in support of their

motion to dismiss, Ciox’s economic injuries are self-inflicted because they are a result of the

contracts it negotiated with the covered entities it works with and not due to any restrictions that

Defendants has imposed on business associates. Defs.’ Mem. in Supp of Mot. to Dismiss 11–16,

Defs.’ Reply Mem. in Supp. of Mot. to Dismiss 6–11. Thus, Ciox’s asserted injury cannot

support its standing to bring this lawsuit, let alone its desire to leapfrog over the jurisdictional

defects in its case and proceed to summary judgment.

          In any event, Ciox’s purported injury merely places it in the company of many claimants

appearing before the Court to seek relief, and it is not enough of a reason to move ahead to full

summary judgment briefing in light of the (1) the jurisdictional and other threshold questions



                                                 6
         Case 1:18-cv-00040-APM Document 17 Filed 05/14/18 Page 7 of 7



identified by Defendants, (2) the Court’s ability to decide the threshold issues without becoming

inextricably intertwined with the merits, and (3) ongoing uncertainty regarding the scope of the

administrative record.

                                        CONCLUSION

       For the foregoing reasons, as well as the reasons set forth in Defendants’ opening brief,

the Court should stay further briefing on summary judgment until it adjudicates Defendants’

motion to dismiss.



Dated: May 14, 2018                                 Respectfully submitted,

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